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                                                                      FILED
                                                                        SEP 1 4 2016
                IN THE UNITED STATES DISTRICT COURT                  Clerk, U.S District Court
                                                                       District Of Montana
                    FOR THE DISTRICT OF MONTANA                             Great Falls
                        GREAT FALLS DIVISION


  UNITED STATES OF AMERICA,                       CR-06-39-GF-BMM-02

                  Plaintiff,

        vs.
                                                           ORDER
  KELLY RUTH MORTENSON,

                  Defendant.



      United States Magistrate Judge John Johnston entered Findings and

Recommendations in this matter August 29,2016. (Doc. 359.) Neither party filed

objections. When a party makes no objections, the Court need not review de novo

the proposed Findings and Recommendations. Thomas v. Arn, 474 U.S. 140, 149­

52 (1986). This Court will review Judge Johnston's Findings and

Recommendations, however, for clear error. McDonnell Douglas Corp. v.

Commodore Bus. Mach., Inc., 656 F.2d 1309, 1313 (9th Cir. 1981).

      Judge Johnston conducted a revocation hearing on August 23,2016. (Doc.

358.) Mortenson admitted that she violated the conditions of her supervised

release. The violations prove serious and warrant revocation of Mortenson's


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supervised release. Judge Johnston has recommended that the Court revoke

Mortenson's supervised release and commit Mortenson to the custody of the

Bureau of Prisons for four months and given credit for time served (Doc. 359 at 4.)

Judge Johnston further has recommended that Mortenson's term of custody be

followed by 56 months of supervised release.

      The Court finds no clear error in Judge Johnston's Findings and

Recommendations. Mortenson's violations of her conditions represent a serious

breach of the Court's trust. A sentence of four months custody followed by 56

months of supervised release represents a sufficient, but not greater than necessary,

sentence.

      IT IS ORDERED that Judge Johnston's Findings and Recommendations

(Doc. 359) is ADOPTED IN FULL.

      IT IS FURTHER ORDERED that Defendant Kelly Ruth Mortenson be

sentenced to four months custody followed by 56 months of supervised release.

The conditions previously imposed shall be continued.

      DATED this 13th day of September, 2016.




                                          Brian Morris
                                          United States District Court Judge



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